                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. DNCW5:08CR58-2
               vs.                                   )       (Financial Litigation Unit)
                                                     )
AARON MORRIS.                                        )

                                      WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and CALDWELL COUNTY SHERIFF’S OFFICE.:

       A judgment was entered on December 15, 2010, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

Defendant, Aaron Morris, whose last known address is XXXXXXXXXXX, Granite Falls, NC,

28630, in the sum of $625,278.06. The balance on the account as of February 15, 2011, is

$625,128.06.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and the Caldwell County Sheriff’s Office is commanded to turn over property in which the

Defendant, Aaron Morris, has a substantial nonexempt interest, the said property being funds located

at the Defendant’s former employer, the Caldwell County Sheriff’s Office, accounts including, but

not limited to, any 401(k) accounts and Individual Retirement Accounts (IRAs), in the name of

Aaron Morris, at the following address: Caldwell County Sheriff’s Office, 2351 Morganton

Boulevard, SW, Lenoir, NC 28645, telephone number (828) 758-2324.

       SO ORDERED.
                                                 Signed: February 16, 2011




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